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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                               )    Chapter 7
    In re:                                                     )
                                                               )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                        )
                                                               )    (Jointly Administered)
                                                               )
                                      Debtors.                 )
                                                               )

                        ORDER SCHEDULING OMNIBUS HEARING DATE

                   IT IS HEREBY ORDERED that the following omnibus hearing dates have been

scheduled in the above-captioned matter:

                                DATE                                 TIME
                                                       10:00 am (Prevailing Eastern Time)
                                                       (Omnibus Hearing)
                    January 17, 2024
                                                       5th Floor, Courtroom No. 6




             Dated: December 14th, 2023                  THOMAS M. HORAN
             Wilmington, Delaware                        UNITED STATES BANKRUPTCY JUDGE




1
      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).
